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                                           BIOGRAPHY: Jane Snoddy Smith

                        estate and energy developers and big box and department store retailers.

                        She has advised clients in all areas of compliance, including FCPA, land use
                        regulation and development, including Brownfield No Further Action letters,
                        zoning, taxation, green building (LEED), ADA and FHA accessibility standards,
                        air rights, wind energy, public parks, public art and impact fees.

                        REPRESENTATIVE EXPERIENCE
                        Jane's recent projects include representing:

                        •   One of the largest public retirement systems in a transaction recognized
                            nationally as a mega deal and only one of few to close since the credit markets
                            froze in the purchase of a portfolio of over ninety buildings containing more
                            than 9 million square feet of industrial property located in nine states. The
                            innovative structure guaranteed a closing without requiring the purchaser to
                            select properties or to allocate the purchase price until just before closing.
                        •   A national investment advisor to a state pension fund in the Midwest in the
                            build-to-suit acquisition of multi-family housing in a city planned
                            redevelopment project financed through tax abatements. City resolutions were
                            successfully obtained so that all contract milestones were achieved on time.
                        •   A Canadian developer in the development, sale and financing of a regional
                            shopping center with an associated planned residential, office and industrial
                            community in the southeast involving a master plan of easements to divert
                            existing waterways and control flooding in conjunction with the U.S. Army
                            Corps of Engineers. All government permits were obtained and a layer of
                            multiple covenant and restriction agreements permitted the development of the
                            properties. The diversion of water also provided a recreational lake.
                        •   The nation's second largest bank in the finance of a U.S. REIT's acquisition of
                            a substantial portion of the U.S. retail assets of a Dutch holding company. This
                            transaction was completed on a fast track basis over a holiday season.
                        •   A national insurance company's foreign investment fund in the sale of a retail
                            shopping center in Chicago prior to the completion of a Remedial Action Plan
                            and receipt of a No Further Action letter. The client was able to close the fund
                            as scheduled.
                        •   A pension fund advisor in the acquisition of a historic downtown Boston
                            office building involving zoning issues and neighboring redevelopment
                            concerns. The client was able to complete acquisitions within the quarter,
                            allowing them to meet financial projections.

                        PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
                        • International Council of Shopping Centers
                                •   Law Conference, Chair (2008)
                                •   Board (2000 - 2011)
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                                           BIOGRAPHY: Jane Snoddy Smith

                        •   CREW Network
                                •   Trustee, CREW Foundation (2011)
                                •   Executive Committee and Immediate Past President (2010)
                                •   President (2009)
                                •   President Elect (2008)
                                •   Director (2007 - 2009)
                        •   Founder, Center for Women in Law, University of Texas School of Law
                            (2011)
                        •   CREW Austin, Inc., President (2005)
                        •   The General Counsel Forum - Austin San Antonio Chapter, Secretary (2011)
                        •   Commercial Leasing and Strategy - Monthly Newsletter Editorial Board
                        •   American Bar Association - Real Property, Probate and Trust Law Section
                        •   State Bar of Texas
                        •   State Bar of Georgia
                        •   Missouri Bar Association

                        PROFESSIONAL HONORS
                        • American College of Real Estate Lawyers (ACREL), Fellow
                        •   "Woman of Influence," Real Estate Forum (2008 - 2009)
                        •   The Best Lawyers in America, Real Estate Law (2008 - 2011)
                        •   "Texas Super Lawyer," Thomson Reuters, Legal (2008 - 2011)
                        •   "Profiles in Power," Finalist, Austin Business Journal (2008)
                        •   Featured in New York Times article, "Women in Commercial Real Estate:
                            Reaching Out to a Strong Network in a Weak Economy" (2008)

                        PUBLICATIONS
                        Jane has published more than 30 articles on numerous topics and presented papers
                        at the International Council of Shopping Centers (ICSC) Conferences, American
                        College of Real Estate Lawyers (ACREL) meeting, the Georgia Real Property
                        Law Institute, Texas Bar Advanced Commercial Real Estate Seminar and the
                        Mortgage Lending Institute.

                        Some of her recent publications and speeches include:

                        •   "Overreaching by Lenders and Borrowers: How the Terms of Loan
                            Documents Can Become Tangled and Undone," ALI-ABA, August 3, 2011
                        •   “Whether Inside or Outside of the U.S. What You Need to Know to Avoid
                            Compliance Fines and Charges from Your Real Estate Projects”, RECon
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                                          BIOGRAPHY: Jane Snoddy Smith

                            ICSC Convention, May 23, 2011
                        •   "Show Me the Money - Maximizing your Stimulus Dollars," CREWNetwork,
                            San Francisco, CA, October 22, 2010
                        •   "Pigs Get Fed and Hogs Get Slaughtered - Making Sausage from Butchered
                            Deals," American College of Real Estate Lawyers, Toronto, Canada, October
                            7, 2010
                        •   "Ten Things I Hate about My last Deal - What to Do Better Next Time:
                            Practical Advice for Real Estate Lawyers," Mortgage Lending Institute,
                            Dallas, TX and Austin, TX, September 24, and October 15, 2010
                        •   "Go Green, Get Green: Environmentally Friendly Buildings May Help
                            Property-Owners Survive," Scotsman Guide, January 2010
                        •   "Gains of Building Green in Long Run Can Outweigh Initial Costs," Austin
                            Business Journal, November 2009
                        •   "Greening Real Estate Transactions: What Real Estate Attorneys Should
                            Know About Being Green," Advanced Real Estate Strategies, Texas Bar,
                            Sante Fe, NM, October 16, 2009
                        •   "On the Ropes: Commercial Real Estate Relationships in Today's Challenging
                            Climate: Considerations for Lenders, Landlords, Tenants, and Brokers,"
                            CTCAR, Austin, TX, September 25, 2009
                        •   "Career Trends and Critical Job Skills in 2010s," ReCon, Las Vegas, NV, May
                            19, 2009
                        •   "The Art of Business Conversation in an Increasingly Diverse Business
                            World," ICSC 2008 ReCon, Las Vegas, NV, May 21, 2008; BOMA
                            International Conference, Denver, CO, June 24, 2008; CREW Network
                            Convention, Houston, TX, October 16, 2008
                        •   "Commercial Leases and Acquisitions: Serving the Unique Needs of Real
                            Estate Investors and Users," (CTCAR - CLE) Instructor, Austin, TX, July 17,
                            2008
                        •   "Joint Venture Investing" , NAREIM (National Association of Real Estate
                            Investment Managers), Senior Officer Asset/Portfolio Management
                            Discussion Forum, Chicago, IL, April 14, 2008
                        •   "Four Things Lawyers Should Know About the Margin Tax," Texas Lawyer,
                            February 18, 2008
                        •   “Effective Management of Corporate Real Estate Portfolios,” CCIM/IREM
                            Success Series 2007, San Antonio, TX, October 19, 2007
                        •   "Protecting and Attacking Exclusive Use Provisions in Retail Leases,"
                            Commercial Leasing Law & Strategy, June 2007
                        •   “Recent Developments in Real Estate Law,” International Council of
                            Shopping Center Law Conference, Orlando, FL, October 2006
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                                           BIOGRAPHY: Jane Snoddy Smith

                        •   "How Smart Tenants Lease Brownfields,” Commercial Leasing Law &
                            Strategy, February 2005
                        •   “Recent Developments in Real Estate Law,” International Council of
                            Shopping Center Law Conference, Orlando, FL, October 2006

                        EDUCATIONAL BACKGROUND
                        1983 - J.D., Emory University School of Law
                        1976 - M.S., Special Education: Educational & Diagnostic Testing, Vanderbilt
                        University
  Austin
  Beijing               1975 - B.S., Biology, College of William and Mary
  Dallas
  Denver                Jane is admitted to practice law in Texas, Georgia and Missouri.
  Dubai
  Hong Kong             INTERESTS
  Houston               Jane enjoys spending time with her husband and three children. She is dedicated to
  London                causes involving the health and development of young adults and advocacy for
  Los Angeles           people with disabilities.
  Minneapolis
  Munich                CIVIC INVOLVEMENT
  New York              • "Fight SMA," a foundation supporting medical research for spinal muscular
  Pittsburgh-              atrophy, Board Member (1991 - 2009)
  Southpointe
  Riyadh                •   United Way Law Section Women's Leadership Giving Program (1997 - 2011)
  San Antonio
                        •   Trained Stephen's Minister
  St Louis
  Washington, D.C.
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                                                         BIOGRAPHY: Bryan W. Patrick


                                     Bryan W. Patrick
                                     Sr. Associate

                                     AREAS OF CONCENTRATION
                                     • Real Estate
                                     • Corporate

                                     EXPERIENCE
                                     Fulbright & Jaworski L.L.P. Associate Bryan Patrick practices in the firm's Austin
                                     office. He focuses on corporate and real estate law.

                                     REPRESENTATIVE EXPERIENCE

                                     Real Estate:

                                     •   Acquisitions and dispositions of warehouses, apartment complexes, shopping
 Bryan W. Patrick                        centers and various real property assets
 bpatrick@fulbright.com
 D: +1 512 536 3180                  •   Negotiates leases for both landlords and tenants
 Austin                              •   Assists with the formation and negotiation of real estate development joint
 98 San Jacinto Boulevard                ventures
 Suite 1100
 Austin, TX 78701-4255
 T: +1 512 474 5201                  Corporate:
 F: +1 512 536 4598
                                     •   Corporate formation and organization
 Experience
   • Acquistions and dispositions    •   Contract preparation and negotiation
   • Leases for both landlords and
     tenants                         •   Mergers and acquisitions
   • Real estate development joint
     ventures                        •   Contract review and due diligence
   • General corporate matters
                                     PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
 Industries                          • State Bar of Texas
   • Real Estate
   • Construction and Building       •   Real Estate Council of Austin
     Materials
   • Retail
   • Health Care Products and        PUBLICATIONS
     Services                        • "5 Things to Understand about the Texas Broker's Lien," CTCAR Newsletter,
   • Insurance
                                       December 2009
                                     •   "Leveraging Your Lease in These Turbulent Times," Commercial Leasing
                                         Law and Strategy, November 2009
                                     •   "Potential Tax-Saving Tool: The Cost Segregation Study," Flick Report,
                                         February / March 2008
                                     •   "Protecting and Attacking Exclusive Use Provisions in Retail Leases,"
                                         Commercial Leasing Law and Strategy, June 2007
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                                            BIOGRAPHY: Bryan W. Patrick


                        SPEECHES
                        • Panelist, "On The Ropes: Commercial Real Estate Relationships in Today's
                           Challenging Climate: Considerations for Lenders, Landlords, Tenants, and
                           Brokers," CTCAR Presentation, Austin, Texas, September 25, 2009
                        •   Panelist, "Commercial Leases and Acquisitions: Serving the Unique Needs of
                            Real Estate Investors and Users," CTCAR and CLBA Presentation, Austin,
                            Texas, July 17, 2008
                        •   Panelist, "Real Estate Development and the Needs of New Corporate
                            America," Lorman Education Seminar, Austin, Texas, February 23, 2007

                        EDUCATIONAL BACKGROUND
                        2005 - J.D., with honors, University of Texas School of Law
                        1999 - B.B.A., Accounting, Texas A&M University

  Austin                While in law school, Bryan was a member of the Texas Law Review. He was
  Beijing               admitted to practice law in 2005.
  Dallas
  Denver                INTERESTS
  Dubai                 Bryan enjoys college football, basketball and travel.
  Hong Kong
  Houston               CIVIC INVOLVEMENT
  London                • United Way Capital Area Young Leaders Society (2009 - 2010)
  Los Angeles
  Minneapolis           •   Mesa Community Church, Apostolic Team Member (2004 - 2009)
  Munich
  New York
                        •   Micah 6 Food Pantry, Volunteer (2006 - 2008)
  Pittsburgh-
  Southpointe
  Riyadh
  San Antonio
  St Louis
  Washington, D.C.
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                                              BIOGRAPHY: Lucy D. Arnold


                         Lucy D. Arnold
                         Associate

                         AREAS OF CONCENTRATION
                         • Litigation
                         • Corporate

                         EXPERIENCE
                         Lucy Arnold joined Fulbright & Jaworski L.L.P.'s New York office in 2007,
                         transferring to the Denver office in 2009. Lucy's practice includes both litigation
                         and corporate matters and is focused on energy related issues.

                         REPRESENTATIVE EXPERIENCE
                         • Lead counsel in representation of non-U.S. oil and gas exploration and
                           development company in disputes with surface owners
 Lucy D. Arnold          •   Lead counsel in representation of non-U.S. energy company entry into
 larnold@fulbright.com       participation agreement
 D: +1 303 801 2705
                         •   Lead counsel in dispute between participants in a participation agreement and
 Denver                      joint operating agreement
 Republic Plaza
 370 17th Street         •   Representation of non-U.S. energy companies in asset acquisitions and
 Suite 2150
 Denver, CO 80202-5638
                             corporate acquisitions of U.S. oil and gas assets
 T: +1 303 801 2700
 F: +1 303 801 2777      •   Representation of mid-stream gas company in development of new gas
                             processing contracts
                         •   Lead counsel in representation of local medical management company
                             asserting breach of contract claim
                         •   Lead counsel in defense of brokerage house against unauthorized trading
                             claim
                         •   Representation of major gas pipeline company asserting breach of contract
                             claim against the Department of Interior
                         •   Defense of international pharmaceutical company against failure to warn
                             claim
                         •   Lead counsel in defense of real property seller against claim for breach of
                             contract
                         •   Defense of major brokerage house in arbitration with former broker;
                             successfully argue for expungement of broker's record
                         •   Defense of regional oil producer against claim for breach of contract by
                             surface owner
                         •   Defense of major title insurance company against $4 million claim for bad
                             faith breach of insurance contract
                         •   Lead counsel in defense of major monthly publication against defamation
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                                             BIOGRAPHY: Lucy D. Arnold

                            claim
                        •   Representation of minority shareholder in dispute with closely held
                            corporation
                        •   Representation of a Fortune 500 company CEO in state tax audit

                        PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
                        • Colorado State Bar
                        •   New York State Bar
                        •   Women in Energy
                        •   Women in Sustainable Energy

                        PUBLICATIONS
                        • "I Didn't Say That!: 'No Oral Modification Clauses in Energy Transactions',"
  Austin                  Western Lands & Energy Newsletter, March 2011
  Beijing
  Dallas                EDUCATIONAL BACKGROUND
  Denver                2007 - J.D., cum laude and Order of the Coif, University of Washington School of
  Dubai                 Law
  Hong Kong             1994 - A.B., cum laude, Harvard University
  Houston
  London                In law school, Lucy was a managing editor of the Washington Law Review and a
  Los Angeles           member of the Student Health Law Organization. She also was a Moot Court
  Minneapolis           Local Mediation Competition winner.
  Munich
  New York              Lucy is admitted to practice law in the states of New York and Colorado, the
  Pittsburgh-           Southern District of New York and the District of Colorado.
  Southpointe
  Riyadh                CIVIC INVOLVEMENT
  San Antonio
                        • American Red Cross - AmeriCorps, volunteer
  St Louis
  Washington, D.C.
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                                                BIOGRAPHY: Benjamin Vetter


                            Benjamin Vetter
                            Sr. Associate

                            AREAS OF CONCENTRATION
                            • Litigation
                            • Environmental
                            • Western Lands and Energy Practice
                            • Appellate

                            EXPERIENCE
                            Benjamin Vetter joined the Denver office of Fulbright & Jaworski L.L.P. in 2008,
                            where he works primarily in the Western Lands & Energy and Litigation practice
                            groups.

                            Before joining Fulbright, Benjamin clerked for Justice Nathan B. Coats, Supreme
                            Court of Colorado, and the Honorable Harris L Hartz, United States Court of
 Benjamin Vetter
 bvetter@fulbright.com      Appeals for the Tenth Circuit. Between his clerkships, he worked as an associate
 D: +1 303 801 2720         in the securities litigation and appellate practice groups at a large Chicago law
                            firm. During his time in Chicago, he gained significant experience representing
 Denver                     clients in securities class action litigation. He also gained extensive appellate
 Republic Plaza
 370 17th Street            experience while working on cases on appeal to the Illinois Supreme Court, the
 Suite 2150                 Missouri Supreme Court, and the United States Supreme Court.
 Denver, CO 80202-5638
 T: +1 303 801 2700
 F: +1 303 801 2777
                            In recognition of briefing filed before both the United States and Illinois Supreme
                            Courts, Benjamin, along with three other attorneys, was named Pro Bono
 Industries                 Advocate of the Year by the Cook County Public Guardian in 2006.
   • Energy and Utilities
   • Government             PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
                            • North Dakota Bar Association
                            •   Denver Bar Association
                            •   North Dakota Petroleum Council

                            PROFESSIONAL HONORS
                            • Cook County Public Guardian, Pro Bono Advocate of the Year, 2006

                            EDUCATIONAL BACKGROUND
                            2004 - J.D., University of Chicago Law School
                            1999 - M.A., American Studies, Baylor University
                            1997 - B.A., English, Pensacola Christian College

                            While in law school, Benjamin was a member of the Chicago Law Review.

                            He is admitted to practice law in Colorado, Wyoming, North Dakota, and Illinois.
                            He is also admitted to practice before the United States Courts of Appeal for the
                            Seventh and Tenth Circuits, the United States District Courts for the District of
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                                             BIOGRAPHY: Benjamin Vetter

                        Colorado and the Northern District of Illinois.




  Austin
  Beijing
  Dallas
  Denver
  Dubai
  Hong Kong
  Houston
  London
  Los Angeles
  Minneapolis
  Munich
  New York
  Pittsburgh-
  Southpointe
  Riyadh
  San Antonio
  St Louis
  Washington, D.C.
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                                              BIOGRAPHY: Christopher Weimer


                            Christopher Weimer
                            Associate

                            AREAS OF CONCENTRATION
                            • Litigation
                            • Securities Litigation and Enforcement Actions
                            • Intellectual Property and Technology
                            • Bankruptcy and Insolvency
                            • Corporate

                            EXPERIENCE
                            Chris joined the Austin office of Fulbright & Jaworski, L.L.P. in 2010. As an
                            associate, Chris focuses his time on a variety of litigation matters. He has drafted
                            pleadings and dispositive motions, coordinated e-discovery, argued to defend
                            privileged material, taken fact depositions and negotiated settlements. He has also
 Christopher Weimer         participated in trademark, corporate, labor and employment, real estate and health
 cweimer@fulbright.com      care compliance matters.
 D: +1 512 536 4553
                            REPRESENTATIVE EXPERIENCE
 Austin                     • Defended national retailer in premises liability action, obtaining a favorable
 98 San Jacinto Boulevard
 Suite 1100                   early settlement
 Austin, TX 78701-4255
 T: +1 512 474 5201         •   Obtained grant of asylum for torture victim and his family in pro bono
 F: +1 512 536 4598             representation
                            •   Assisted health care providers in responding to Requests to Examine from the
                                Texas Attorney General
                            •   Helped win transfer of a disputed domain name in proceedings before the
                                National Arbitration Forum
                            •   Prepared entity formation documents for LLCs
                            •   Assisted quick service food chain in protecting international trademark
                                portfolio

                            PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
                            • State Bar of Texas
                            •   U.S. - Mexico Bar Association
                            •   American Bankruptcy Institute

                            PUBLICATIONS
                            • Co-Author, "Supreme Court Finds Adverse Event Reports 'Material' Despite
                              Lack of Statistical Significance," Fulbright Alert, March 23, 2011.

                            SPEECHES
                            • Co-Presenter, "An Update and Refresher of Constructing and Proving
                               Damages," 34th Annual Page Keeton Civil Litigation CLE, October 28-29,
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                                             BIOGRAPHY: Christopher Weimer

                               2010

                           EDUCATIONAL BACKGROUND
                           2009 – J.D., high honors, The University of Texas School of Law
                           2003 – B.A., History, and American Studies, Wesleyan University

                           While in law school, Chris served as an Articles Editor for the Texas Law Review,
                           and as the Society Coordinator for the Gus Hodges Society. He was also a member
                           of the U.S. - Mexico Bar Association (UT Law Chapter) and the Order of the Coif.

                           Chris is admitted to practice in the State of Texas and the Federal District Court
                           for the Western District of Texas.

                           INTERESTS
                           Prior to joining Fulbright, Chris worked for several years in Monterrey, Mexico.
  Austin                   LANGUAGE CAPABILITIES
  Beijing
  Dallas
                           • Spanish - Fluent
  Denver                   •   Portuguese - Limited Proficiency
  Dubai
  Hong Kong
  Houston
  London
  Los Angeles
  Minneapolis
  Munich
  New York
  Pittsburgh-Southpointe
  Riyadh
  San Antonio
  St Louis
  Washington, D.C.
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                                                          BIOGRAPHY: Tamsen Barrett


                                     Tamsen Barrett
                                     Associate

                                     AREAS OF CONCENTRATION
                                     • Intellectual Property and Technology
                                     • Patent Prosecution
                                     • IP Portfolio Management
                                     • IP Due Diligence

                                     EXPERIENCE
                                     Tamsen Barrett joined Fulbright & Jaworski L.L.P.'s Austin office in 2007. As an
                                     associate, she focuses her practice on intellectual property matters which include
                                     both domestic and foreign patent prosecution.

                                     Tamsen's experience includes patent counseling and patent prosecution, with an
                                     emphasis in biotechnology related matters. Her practice includes:
 Tamsen Barrett
 tbarrett@fulbright.com
 D: +1 512 536 3123                  •   Preparing and prosecuting patent applications relating to biotechnology,
                                         pharmaceuticals, renewable energy, and organic chemistry
 Austin
 98 San Jacinto Boulevard            •   Supervising the prosecution of patent applications before many foreign patent
 Suite 1100                              offices
 Austin, TX 78701-4255
 T: +1 512 474 5201                  •   Evaluating new products and processes to determine patentability and
 F: +1 512 536 4598
                                         advising clients on the same
 Experience                          Prior to joining the firm, Tamsen worked as a registered contract patent agent and
   • Intellectual property matters   served as an intern for the District Court of the Honorable Judge Joy Flowers
   • Domestic and foreign patent
     prosecution                     Conti.

 Industries                          REPRESENTATIVE EXPERIENCE
   • Biotechnology                   • Experience in preparing patent applications, responses to office actions,
   • Health Care Products and
     Services
                                       appeal briefs, examiner interviews and a variety of other related prosecution
   • Pharmaceutical Industry           matters
                                     •   Formulating strategies for prosecuting patent applications in foreign
                                         jurisdictions
                                     •   Assisted with developing strategies and process of IP review and clearance
                                         during product development
                                     •   Managed the monitoring and maintenance of a company's patent portfolio
                                     •   Researched and advised a company on the process of design registration in
                                         foreign jurisdictions
                                     •   Assisted with due diligence projects for clients looking to acquire or sell
                                         intellectual property

                                     PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
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                                            BIOGRAPHY: Tamsen Barrett

                        •   Austin Intellectual Property Association (AIPLA)
                        •   US Patent and Trademark Office
                        •   State Bar of Texas
                        •   State Bar of Minnesota

                        PUBLICATIONS
                        • "En Banc Federal Circuit Holds Section 112, First Paragraph Does Include A
                          Separate Written Description Requirement," Fulbright & Jaworski L.L.P.
                          Briefing, March 26, 2010

                        EDUCATIONAL BACKGROUND
                        2006 – J.D., University of Pittsburgh
                        2003 – B.S., Biochemistry, Iowa State University

  Austin                While in law school, Tamsen was honored as a member of the Order of the
  Beijing               Barristers and received the CALI Excellence for the Future Award in Patent Law
  Dallas                in 2004. Tamsen also participated in the Giles Rich Moot Court Competition and
  Denver                served as the Vice President to the Student Intellectual Property Law Society.
  Dubai
  Hong Kong             Tamsen is admitted to practice in Texas and Minnesota.
  Houston
  London                INTERESTS
  Los Angeles           Tamsen enjoys scuba diving and following her favorite NHL team, the Minnesota
  Minneapolis
                        Wild.
  Munich
  New York
  Pittsburgh-
  Southpointe
  Riyadh
  San Antonio
  St Louis
  Washington, D.C.
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-24
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                                             BIOGRAPHY: David Joseph Diamond


                            David Joseph Diamond
                            Associate

                            AREAS OF CONCENTRATION
                            • Litigation
                            • Intellectual Property and Technology

                            EXPERIENCE
                            David Diamond joined the Austin office of Fulbright & Jaworski L.L.P. in 2010.
                            As an associate, David focuses his practice on litigation and intellectual property
                            matters. He has also participated in labor and employment matters as well as
                            FCPA and international anti-corruption matters.

                            In his litigation experience, David has been involved in toxic tort matters, real
                            estate and construction litigation, and insurance class actions. Additionally,
                            David's intellectual property experience includes trademark litigation in federal
 David Joseph Diamond
 ddiamond@fulbright.com     district court, opposition proceedings before the Trademark Trial and Appeal
 D: +1 512 536 2423         Board, and advising clients in trademark policing. Through his pro bono practice,
                            David has assisted in the representation of criminal clients in federal district court.
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    Austin                  •   Austin Young Lawyers Association
    Beijing
    Dallas                  EDUCATIONAL BACKGROUND
    Denver                  2010 - J.D., Yale Law School
    Dubai                   2007 - B.A., summa cum laude, Economics, Wake Forest University
    Hong Kong
    Houston                 While in law school, David was a Senior Editor for the Yale Law Journal.
    London
    Los Angeles             INTERESTS
    Minneapolis             When not focused on his clients, David enjoys backpacking, swimming and ACC
    Munich                  basketball.
    New York
    Pittsburgh-
    Southpointe
    Riyadh
    San Antonio
    St Louis
    Washington, D.C.
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
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                                                BIOGRAPHY: Todd Ryan Hambidge


                               Todd Ryan Hambidge
                               Associate

                               AREAS OF CONCENTRATION
                               • Litigation
                               • Arbitration
                               • Intellectual Property and Technology
                               • Trademarks

                               EXPERIENCE
                               Todd Hambidge joined the New York office of Fulbright & Jaworski L.L.P. in
                               2007. As an associate, he works with the firm's Intellectual Property and Litigation
                               practices. Todd's experience includes:

                               •   Conducting research and drafting memoranda and briefs for patent, trademark,
                                   privacy, and general litigation
 Todd Ryan Hambidge
 thambidge@fulbright.com       •   Drafting complaints and other pleadings for trademark and general litigation
 D: +1 212 318 3010
                               •   Drafting interrogatories and document requests and responses to same
 New York
 666 Fifth Avenue              •   Managing litigation discovery
 New York, NY 10103-3198
 T: +1 212 318 3000            •   Drafting lines of questioning for cross-examination
 F: +1 212 318 3400
                               •   Prosecution of trademark and copyright applications
 Experience                    •   Assisting in opposition and cancellation proceedings
  •    General litigation
  •    Arbitration             •   Assisting in management of foreign trademark portfolios
  •    Trademark prosecution
  •    Trademark litigation    •   Assisting in enforcing trademark and copyright rights through cease and desist
  •    Patent litigation
                                   letters and Notice and Takedown letters
                               •   Negotiating and drafting settlement, coexistence, and licensing agreements
      Austin                   •   Conducting trademark due diligence
      Beijing
      Dallas
      Denver                   PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
      Dubai                    • International Trademark Association (INTA)
      Hong Kong
      Houston                  •   New York County Bar Association
      London
      Los Angeles              •   American Bar Association
      Minneapolis
      Munich                           •   Trademark Litigation Committee
      New York
      Pittsburgh-Southpointe           •   IP Licensing Committee
      Riyadh
      San Antonio
      St Louis                 PUBLICATIONS
      Washington, D.C.         • "Containing Online Copyright Infringement: Use of the Digital Millennium
                                 Copyright Act's Foreign Site Provision to Block U.S. Access to Infringing
                                 Foreign Websites," Vanderbilt Law Review, Volume 60, Page 905, 2007
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                                         BIOGRAPHY: Todd Ryan Hambidge


                        EDUCATIONAL BACKGROUND
                        2007 - J.D., Vanderbilt University Law School
                        2004 - B.A., magna cum laude, Political Science, DePauw University

                        As an undergraduate, Todd was a member of Phi Beta Kappa and a Frees
                        Management Scholar. During law school, Todd participated in Mock Trial and
                        was the Notes Development Editor of the Vanderbilt Law Review. In addition to
                        being admitted to practice in the State of New York, Todd is admitted to practice
                        in New York's Southern and Eastern District Courts.
